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5    Assistant United States Attorneys
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10
     Attorneys for the United States
11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,           )             No. CR 05-00395 CRB
                                         )
16         Plaintiff,                    )             STIPULATION AND [PROPOSED]
                                         )             SUPPLEMENTAL PROTECTIVE ORDER
17         v.                            )             REGARDING DISCOVERY AS TO
                                         )             DEFENDANT WU SANG NAH
18   YOUNG JOON YANG, aka Yang,          )
     WU SANG NAH, aka Kang               )
19   SUNG YONG KIM, aka Nam, aka Mr. Kim,)
     HANG JOE YOON, aka Mr. Lee,         )
20   MYONG SU AHN, aka Paula Lee,        )
     NAM YOUNG LEE,                      )
21   FRED A. FRAZIER,                    )
     TRONG DU NGUYEN, aka John           )
22   AHDI M. NASHASHIBI,                 )
     YOUNG JOO LEE,                      )
23   MIN YOUNG BANG,                     )
     IN SEUNG KIM,                       )
24   SEYUN KIM,                          )
     EUGENE YI,                          )
25   CHANG SOO YOUN,                     )
     MO SOOK YANG,                       )
26   KEUN SUNG LEE, aka Kenneth,         )
     MYUNG JIN CHANG,                    )
27   WON SEOK YOO,                       )
     JIMMY GONG YAN LEE,                 )
28   AESUN KIM, aka Mami,                )


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1    HYEON J. PARK,                      )
     ANTHONY GAR LAU,                    )
2    MI YOUNG SIM, aka Jackie,           )
     KUM PAE YI,                         )
3    HAN LEE,                            )
     HYE CHA KIM, aka Kelly,             )
4    JIN AH KANG,                        )
     YON SUK PANG, aka Nana,             )
5                                        )
           Defendants.                   )
6    ____________________________________)
7
8            The United States, through its counsel of record, and the defendants, through their
9    counsel of record, hereby agree and stipulate that the government will provide discovery on the
10   following conditions:
11           1.      Protected Material
12           The discovery produced in this matter is deemed Protected Material. Possession of
13   copies of the Protected Material is limited to the defendants, their attorneys of record, and
14   investigators, paralegals, law clerks, translators, interpreters, experts and assistants for the
15   attorneys of record (hereinafter collectively referred to as "members of the defense team").
16           The defendants, their attorneys of record, and members of the defense team acknowledge
17   that providing copies of the Protected Material to other persons is prohibited, and agree not to
18   duplicate or provide copies of the Protected Material to other persons. The defendants, their
19   attorneys of record, and members of the defense team may show Protected Material to witnesses
20   or prospective witnesses in conjunction with their defense of the defendants in this case. The
21   defendants, their attorneys of record, and members of the defense team further acknowledge that
22   they are prohibited from using the Protected Material for any purpose other than defending the
23   defendant in the above-captioned matter. Any violation of these prohibitions constitutes a
24   violation of the Protective Order. Further, the attorneys of record agree that prior to
25   disseminating any copies of the Protected Material to members of the defense team, they will
26   provide a copy of this Protective Order to members of the defense team.
27           Notwithstanding efforts taken by the government to redact personal information of
28
     No. CR 05-00395 CRB
     SUPPLEMENTAL PROTECTIVE ORDER
                                                        2
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1    witnesses from the discovery provided to the defense (such as date of birth, social security
2    numbers, addresses, phone numbers, etc.), defense counsel, the defendants and members of the
3    defense team agree that, should any such information be found during their review of this
4    material, they will not provide that personal information in any form – whether in verbal, written
5    or electronic format – to any third party, for any reason whatsoever.
6           2       Nontermination
7           The provisions of this Order shall not terminate at the conclusion of this prosecution but
8    only upon further order of this Court. Within 30 days of a verdict or guilty plea, the defendants’
9    attorneys of record shall return all copies of any Protected Material (including all copies provided
10   to the defendants, their attorneys of record, and members of the defense team) to the United
11   States Attorney’s Office for the Northern District of California.
12          SO STIPULATED.
13
14   DATED: September 13, 2005                     /s/ Monica Fernandez______________
                                                   PETER B. AXELROD
15                                                 MONICA FERNANDEZ
                                                   Assistant United States Attorneys
16
                                                   ANDREW KLINE
17                                                 J. EVANS RICE III
                                                   Trial Attorneys, U.S. Department of Justice
18
19
20   DATED: September 12, 2005                     /s/ James Bustamante
                                                   JAMES BUSTAMANTE
21                                                 Counsel for Defendant Wuh Sang NAH
22
23                                                ORDER                               TE
                                                                                        S DISTRICT
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            IT IS SO ORDERED.
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                                                                                            lizabeth
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                                                                                     Judge E
26
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     DATED: September 14, 2005                     _______________________________
                                                                            RT




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                                                   CHARLES R. BREYERER
                                                                               H




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27                                                                            N
                                                   United States District Judge D IS T IC T O
                                                                                      R
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                                                   ELIZABETH D. LAPORTE
28
                                                   United States Magistrate Judge
     No. CR 05-00395 CRB
     SUPPLEMENTAL PROTECTIVE ORDER
                                                      3
